 Case 3:15-cv-02222-B Document 1 Filed 07/03/15                  Page 1 of 14 PageID 1



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION



LARRY W. PANAYI,

                 Plaintiff,                        Civil Action No.
v.

SIX FLAGS OVER TEXAS, INC.,                             JURY TRIAL DEMANDED
                 Defendant.




                                 Plaintiff’s*Original*Complaint*
To the Honorable Court:

        Plaintiff Larry W. Panayi (“Panayi”) complains of Defendant Six Flags Over

Texas, Inc. (“Six Flags” or “Defendant”), and would show as follows:


                                        I.#Introduction#
        1.!      This is a disability discrimination action under the Americans with

Disabilities Act and the disability discrimination provisions of the Texas Human

Resources Code. Plaintiff Panayi has one good leg; the other is missing. As do millions

of other people, he enjoys riding amusement rides at amusement parks. Defendant

operates the Six Flags amusement park in Arlington, Texas. While it offers patrons a

wide range of activities, it is most well-known for its roller coasters and other rides.

Recently Six Flags changed its policy regarding rider qualifications for many of the rides

in its park, particularly with respect to disabled riders. Disappointingly, Defendant has


________________________________________________________________________
Plaintiff’s Original Complaint                                                             Page 1
 Case 3:15-cv-02222-B Document 1 Filed 07/03/15                   Page 2 of 14 PageID 2



implemented an unlawful policy of discrimination based on disability under which it

categorically refuses to permit park patrons to ride a variety of rides if they are missing a

leg. On Plaintiff Panayi’s two most recent visits to the park, Defendant’s employees

refused to permit him to ride multiple rides that he had ridden without difficulty before

Defendant implemented its unlawful “no leg, no ride” policy of disability discrimination.

Defendant’s employees refused to permit him to ride the rides in question because he is

missing one leg. Consequently, Plaintiff Panayi has been forced to bring this action

against Six Flags for its violations of Title III of the Americans with Disabilities Act of

1990, as amended, 42 U.S.C. § 12181 et seq. (“ADA”), and Chapter 121 of the Texas

Human Resources Code, § 121.001, et seq. (“THRC”).


                                 II.#Jurisdiction#and#Venue#
         2.!     This court has jurisdiction over this action under 28 U.S.C. § 1331 and 28

U.S.C. §§ 1343(a)(3) and (4). Plaintiff requests that this Court exercise its supplemental

jurisdiction over Plaintiff’s THRC claim under authority of 28 U.S.C. § 1367. Plaintiff’s

THRC claims depend upon the same facts as Plaintiff’s federal claims.

         3.!     Venue is proper in this Court under 28 U.S.C. § 1391. Plaintiff’s claims

arose in this district and a substantial portion of the unlawful acts that make up the basis

of this complaint occurred within this district. Further, Defendant maintains offices in this

district, including its principal executive offices, and conducts business in this district.


                                         III.#Parties#
         4.!     Plaintiff Larry W. Panayi (“Panayi”) is a resident of Tarrant County,

Texas.



________________________________________________________________________
Plaintiff’s Original Complaint                                                            Page 2
 Case 3:15-cv-02222-B Document 1 Filed 07/03/15                  Page 3 of 14 PageID 3



        5.!      Defendant Six Flags Over Texas, Inc., is a Delaware corporation with its

principal place of business in Tarrant County, Texas. Defendant Six Flags Over Texas,

Inc., may be served by serving its registered agent in Texas: Corporation Service

Company, 211 E. 7th Street, Suite 620, Austin, Texas 78701-3218.


                                 IV.#Statement#of#Facts#

                                              A.*

        6.!       Panayi is an otherwise able-bodied adult male who lost a leg in an

automobile accident while he was serving in the United States military. Since then,

Panayi has adapted to the change in his condition and leads a largely normal life. Panayi

goes through his day-to-day life both using a prosthetic leg and without one, depending

on the situation. Panayi has trained himself to perform daily tasks so that he may live as

fully and independently as he can.

        7.!       Panayi has repeatedly frequented amusement parks in his lifetime,

including Six Flags Over Texas. Panayi has enjoyed the park’s rides for many years as an

amputee. Panayi has ridden almost every ride at this park, and has also ridden similar

rides at other amusement parks, without difficulty and without posing a direct threat to

the health or safety of himself or others. Not once has he suffered an injury on a roller

coaster or other ride.

        8.!      In July of 2013, Panayi visited the Six Flags amusement park in Arlington,

Texas, with some of his relatives. Unfortunately, when Panayi went to ride several of the

amusement rides in the park he was turned away and denied his right to board and ride

the rides in question. Defendant’s sole stated reason for refusing to permit Panayi to ride

the rides in question was his disability, to-wit, the fact that he is missing one leg. Before

________________________________________________________________________
Plaintiff’s Original Complaint                                                           Page 3
 Case 3:15-cv-02222-B Document 1 Filed 07/03/15                   Page 4 of 14 PageID 4



this, Panayi had never been turned away from any amusement park ride, including those

operated by Defendant. Plaintiff was humiliated, embarrassed and confused as to why his

disability disqualified him from being able to ride the rides in question as he had many

times without incident in his past visits to the Six Flags amusement park.

        9.!      In January of 2014, Panayi again visited the Six Flags amusement park in

Arlington, Texas. Once again, when Panayi went to ride several of the amusement rides

in the park he was summarily turned away and denied his right to board and ride the rides

in question. Defendant’s sole stated reason for refusing to permit Panay to ride the rides

in question was his disability, to-wit, the fact that he is missing one leg.


                                               B.*

        10.!     Defendant’s refusal to permit Panayi to ride the amusement rides in

question was based on Defendant’s “Extremity Requirements” for those rides. The

Extremity Requirements appear in Defendant’s “Safety & Accessibility Guide” which

was in place at the time of Panayi’s visits in July 2013 and January 2014. Defendant had

an “Executive Committee” devise the Extremity Requirements and implemented them in

2012. Under Defendant’s Extremity Requirements, Panayi is prohibited from riding:

              a.! Batman the Ride, a roller coaster ride (an inverted looping coaster)

                 requiring “at least two (2) natural legs with lower extremities to the knee

                 on both legs”;




________________________________________________________________________
Plaintiff’s Original Complaint                                                           Page 4
    Case 3:15-cv-02222-B Document 1 Filed 07/03/15                   Page 5 of 14 PageID 5



             b.! Conquistador, a swing ride (swinging ship) requiring “two (2) natural

                 functioning legs with two (2) natural feet in order to ride”1;

             c.! El Sombrero, a spinning hat ride requiring “two (2) natural functioning

                 legs with two (2) natural feet in order to ride”;

             d.! Judge Roy Scream, a wooden roller coaster ride requiring “two (2) natural

                 functioning legs with two (2) natural feet in order to ride”;

             e.! Freeze Reverse Blast, a launched roller coaster ride requiring “two (2)

                 natural functioning legs with two (2) natural functioning feet in order to

                 ride”;

             f.! New Texas Giant, a hybrid roller coaster ride requiring “two (2) natural

                 functioning legs with two (2) natural feet in order to ride”;

             g.! Pandemonium, a roller coaster ride requiring “two (2) natural functioning

                 legs with two (2) natural feet in order to ride”;

             h.! Rodeo, a spinning ride requiring “two (2) natural functioning legs with

                 two (2) natural feet in order to ride”;

             i.! Shock Wave, a looping roller coaster ride requiring “two (2) natural

                 functioning legs with two (2) natural feet in order to ride”;

             j.! Silver Star Carousel, a low speed antique carousel ride requiring “one (1)

                 natural functioning leg with a natural foot, and a second natural

                 functioning leg to the knee to utilize a horse”;

1
  Defendant’s Extremity Requirements specify that a “[f]unctioning leg is a leg with a
foot.” Defendant’s Extremity Requirements also provide that “[a] functioning extremity
is a limb over which a person has control. A prosthetic device is not considered a
functioning extremity.”


________________________________________________________________________
Plaintiff’s Original Complaint                                                          Page 5
 Case 3:15-cv-02222-B Document 1 Filed 07/03/15                   Page 6 of 14 PageID 6



             k.! Six Flags Speedway, a go cart ride (a flat ride) requiring “two (2) full

                 legs”;

             l.! Texas SkyScreamer, a spinning swing ride requiring “at least two (2)

                 natural legs with lower extremities to the knee on both legs in order to

                 ride”; and

             m.! Titan, a steel roller coaster ride requiring “two (2) natural functioning legs

                 with two (2) natural feet in order to ride.”

        11.!     The impact of the Extremity Requirements is significant. Of some 40

rides, Panayi is excluded from riding nearly 1/3 of the rides overall (13 of the rides);

some 59% of the adult rides; nearly 2/3 of the roller coasters; and most of the rides that

Six Flags classifies as “High Thrill” rides, including Batman The Ride, Judge Roy

Scream, Freeze Reverse Blast, New Texas Giant, Pandemonium, Shock Wave, Texas

SkyScreamer, and Titan.

        12.!     The Extremity Requirements in question as applied to Panayi are not

necessary for the safe operation of the rides in question. Panayi could safely ride each of

the rides, with or without his prosthetic, as the case may be, and has ridden many of them

in the past without incident, without injury to himself or others, and without posing a

direct threat to the health or safety of himself or others, but is now prevented from doing

so by Defendant’s Extremity Requirements and Defendant’s failure to accommodate his

disability as required by the ADA and the Texas Human Resources Code.


                                               C.*

        13.!     Plaintiff wishes to continue patronizing the Six Flags amusement park but

is being deterred and excluded from doing so because of Defendant’s discriminatory

________________________________________________________________________
Plaintiff’s Original Complaint                                                           Page 6
 Case 3:15-cv-02222-B Document 1 Filed 07/03/15                  Page 7 of 14 PageID 7



policies, which have deterred him from returning to Six Flags and excluded him from

enjoying the full range of rides at the park. Defendant has instituted discriminatory

policies and practices that deny Plaintiff, and otherwise similarly situated disabled

persons, the full and equal use of the amusement rides in question, and has failed to

ensure that its policies and practices do not subject persons with disabilities, such as

Plaintiff, to discrimination on the basis of speculation, stereotypes, and generalizations

about their disability.

        14.!     Until the discriminatory policies are changed, Plaintiff will continue to

suffer discrimination by being excluded and deterred from returning to the Six Flags

amusement park and will continue to be denied the same full and equal access to and use

of the amusement park rides in question as Defendant offers to the general public.

        15.!     As a result of Defendant’s discriminatory acts and omissions, Plaintiff has

suffered, and will continue to suffer, damages, and has been, and will continue to be

prevented and/or deterred from accessing and using Defendant’s and facilities to the same

extent as, and in a manner equal to, his peers with two legs. Plaintiff has suffered

discrimination, deterrence, humiliation, distress, and embarrassment, all to his damage.

Through this lawsuit, Plaintiff seeks (i) a declaration that Defendant’s Extremity

Requirements, as applied to otherwise able-bodied persons missing one leg, violate the

Americans with Disabilities Act and Chapter 121 of the Texas Human Resources Code;

(ii) compensation for his injuries as the result of Defendant’s discriminatory conduct and

actions, including statutory damages under the Texas Human Resources Code; (iii) an

injunction prohibiting Defendant to from discriminating against him in the future by




________________________________________________________________________
Plaintiff’s Original Complaint                                                             Page 7
 Case 3:15-cv-02222-B Document 1 Filed 07/03/15                   Page 8 of 14 PageID 8



refusing him full and equal access to its amusement park rides based on the fact that he is

missing one leg; and (iv) court costs and reasonable attorneys’ fees.


                                  VI.#Causes#of#Action#

                                          Count*1.**
                  Violation*of*the*Americans*with*Disabilities*Act*–*Title*III*

        16.!      Panayi is a person with a disability under 42 U.S.C. § 12102(1)(A). He is

missing a leg, which satisfies the first definition of disability under that section because it

is “a physical or mental impairment that substantially limits one or more major life

activities.”

        17.!     Alternatively, Panayi was “regarded as having such an impairment” by

Defendant. Defendant subjected Panayi to its policy because of an actual or perceived

physical impairment and Panayi’s impairment is not transitory or minor as it is something

Panayi must live with every day, for the rest of his life.

        18.!     Defendant operates a public accommodation. Six Flags Over Texas is an

amusement park which is expressly included in the definition of “public accommodation”

under the ADA.

        19.!     Defendant has discriminated against Panayi on the basis of his disability

by improperly imposing the Extremity Requirements for the 13 rides listed above. See 42

U.S.C. § 12182(b)(2)(A)(i) (discrimination under the ADA includes “the imposition or

application of eligibility criteria that screen out or tend to screen out an individual with a

disability... from fully and equally enjoying any goods, services, facilities, privileges,

advantages, or accommodations, unless such criteria can be shown to be necessary for the




________________________________________________________________________
Plaintiff’s Original Complaint                                                           Page 8
    Case 3:15-cv-02222-B Document 1 Filed 07/03/15                 Page 9 of 14 PageID 9



provision of the goods, services, facilities, privileges, advantages, or accommodations

being offered.”). Defendant has, among other violative conduct:

             a.! imposed Extremity Requirements, as described above, that screen out

                 individuals with disabilities from the full and equal enjoyment of

                 Defendant’s amusement rides;

             b.! imposed Extremity Requirements, as described above, that are not based

                 on actual risks but rather on speculation, stereotypes, or generalizations

                 about individuals with disabilities, see 28 C.F.R. § 36.301(a) & (b)

                 (“Safety requirements must be based on actual risks and not on mere

                 speculation, stereotypes, or generalizations about individuals with

                 disabilities.”); and

             c.! imposed Extremity Requirements, as described above, without making

                 individualized assessments, based on reasonable judgments and objective

                 evidence, to determine whether otherwise able-bodied persons missing a

                 single leg pose a direct threat to the health and safety of others on each of

                 the rides in question, see 28 C.F.R. § 36.208.2




2
  Under the ADA, “The term ‘direct threat’ means a significant risk to the health or safety
of others that cannot be eliminated by a modification of policies, practices, or procedures
or by the provision of auxiliary aids or services.” 42 U.S.C. § 12182(b)(3). The
determination that a disabled individual is a direct threat is an “individualized
assessment, based on reasonable judgment that relies on current medical knowledge or on
the best available objective evidence, to ascertain: The nature, duration, and severity of
the risk; the probability that the potential injury will actually occur; and whether
reasonable modifications of policies, practices, or procedures or the provision of auxiliary
aids or services will mitigate the risk.” 28 C.F.R. § 36.208(b).


________________________________________________________________________
Plaintiff’s Original Complaint                                                           Page 9
Case 3:15-cv-02222-B Document 1 Filed 07/03/15                 Page 10 of 14 PageID 10



        20.!     Defendant has also discriminated against Panayi on the basis of his

disability by failing to make reasonable modifications to its discriminatory policy to

allow Panayi to ride the rides, even where such a modification would not fundamentally

alter the nature of the rides or Defendant’s provision of the rides to non-disabled persons.

See 42 U.S.C. § 12182(b)(2)(A)(ii) (discrimination under the ADA includes the “failure

to make reasonable modifications in policies, practices, or procedures, when such

modifications are necessary to afford such goods, services, facilities, privileges,

advantages, or accommodations to individuals with disabilities, unless the entity can

demonstrate that making such modifications would fundamentally alter the nature of such

goods, services, facilities, privileges, advantages, or accommodations.”).

        21.!     Defendant has also discriminated against Panayi on the basis of his

disability by failing to provide such auxiliary aids or services as may be needed to allow

Panayi to ride the rides – e.g., a car or seat with an enhanced passenger restraint system –

even where the provision of such auxiliary aids or services would not fundamentally alter

the nature of the rides or Defendant’s provision of the rides to non-disabled persons, and

would not result in an undue burden, i.e., significant difficulty or expense. See 42 U.S.C.

§ 12182(b)(2)(A)(iii) (discrimination under the ADA includes the “failure to take such

steps as may be necessary to ensure that no individual with a disability is excluded,

denied services, segregated or otherwise treated differently than other individuals because

of the absence of auxiliary aids and services, unless the entity can demonstrate that taking

such steps would fundamentally alter the nature of the good, service, facility, privilege,

advantage, or accommodation being offered or would result in an undue burden”); 28

C.F.R. § 36.303(a).



________________________________________________________________________
Plaintiff’s Original Complaint                                                          Page 10
Case 3:15-cv-02222-B Document 1 Filed 07/03/15                  Page 11 of 14 PageID 11



                                         Count*2.*
                Violation*of*the*Texas*Human*Resources*Code*–*Chapter*121*

        22.!     “Persons with disabilities have the same right as the able-bodied to the full

use and enjoyment of any public facility in the state.” TEX. HUM. RES. CODE

§ 121.003(a).

        23.!     Panayi is a person with a disability within the meaning of Chapter 121 of

the Texas Human Resources Code because he only has one leg.

        24.!     Defendant operates an amusement park called Six Flags Over Texas,

which is a public facility within the meaning of Chapter 121 of the Texas Human

Resources Code because it is a place of public accommodation, amusement, convenience,

or resort to which the general public or any classification of persons from the general

public is regularly, normally, or customarily invited.

        25.!     Defendant’s repeated refusals to admit Panayi to ride the rides in question

based on his disability, to-wit, the fact that he is missing one leg, were in violation of

§ 121.003(c) of the THRC. See TEX. HUM. RES. CODE § 121.003(d) (“[t]he discrimination

prohibited by this section includes a refusal to allow a person with a disability to use or

be admitted to any public facility”).

        26.!     Defendant’s failures and refusals to make reasonable accommodations in

its policies, practices, and procedures in order to permit Plaintiff, and other otherwise

able-bodied persons missing one leg, to ride the rides in question, were in violation of

§ 121.003(c) of the THRC. See TEX. HUM. RES. CODE § 121.003(d)(2) (“[t]he

discrimination prohibited by this section includes … a failure to: make reasonable

accommodations in policies, practices, and procedures”).




________________________________________________________________________
Plaintiff’s Original Complaint                                                          Page 11
Case 3:15-cv-02222-B Document 1 Filed 07/03/15                  Page 12 of 14 PageID 12



        27.!     Defendant’s failures and refusals to provide such auxiliary aids and

services as may be necessary to allow the full use and enjoyment of the amusement rides

in question by Plaintiff, and other otherwise able-bodied persons missing one leg, were in

violation of § 121.003(c) of the THRC. See TEX. HUM. RES. CODE § 121.003(d)(3) (“[t]he

discrimination prohibited by this section includes … a failure to: provide auxiliary aids

and services necessary to allow the full use and enjoyment of the public facility.”).

        28.!     Each refusal by Defendant to permit Plaintiff to ride one of the amusement

rides in question constituted a separate violation of the THRC.

        29.!     Each failure and refusal by Defendant to make reasonable

accommodations in its policies, practices, and procedures in order to permit Plaintiff, and

other otherwise able-bodied persons missing one leg, to ride the rides in question

constituted a separate violation of the THRC.

        30.!     Each failure and refusal by Defendant to provide such auxiliary aids and

services as may be necessary to allow the full use and enjoyment of the amusement rides

in question by Plaintiff, and other otherwise able-bodied persons missing one leg,

constituted a separate violation of the THRC.

        31.!     Defendant’s violations of the Texas Human Resources Code entitle

Plaintiff to statutory damages under 121.004 Texas Human Resources Code for the July

2013 violations under the version of the statue then in effect, and for the January 2014

violations under the statute as amended effective January 1, 2014.


                                     VII.#Jury#Demand#
        32.!     Plaintiff respectfully demands a jury trial.




________________________________________________________________________
Plaintiff’s Original Complaint                                                          Page 12
Case 3:15-cv-02222-B Document 1 Filed 07/03/15                    Page 13 of 14 PageID 13



                                   VIII.#Attorney’s#Fees#
        33.!     Plaintiff is entitled to an award of attorney’s fees, including litigation

expenses, and costs, under the remedial provisions of the ADA. See 42 U.S.C. § 12205.


                             IX.#Relief#Requested#and#Prayer#
        34.!     WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that

Defendant be summoned to appear and that, after a trial, Plaintiff be awarded:

             a.! A declaration that Defendant’s Extremity Requirements, as applied to

                 otherwise able-bodied persons missing one leg, violate the Americans with

                 Disabilities Act and Chapter 121 of the Texas Human Resources Code;

             b.! Compensatory damages;

             c.! Statutory damages under 121.004(b) of the Texas Human Resources Code

                 for the July 2013 violations under the version of the statue then in effect,

                 under which there is a conclusive presumption of damages in the amount

                 of at least $100 to the person with a disability for each violation, and for

                 the January 2014 violations under the statute as amended effective

                 January 1, 2014, under which there is a conclusive presumption of

                 damages in the amount of at least $300 to the person with a disability for

                 each violation;

             d.! An injunction prohibiting Defendant to from discriminating against him in

                 the future by refusing him full and equal access to the amusement park

                 rides in question based on his disability, to-wit, the fact that he is missing

                 one leg;

             e.! Expert witness fees;


________________________________________________________________________
Plaintiff’s Original Complaint                                                            Page 13
Case 3:15-cv-02222-B Document 1 Filed 07/03/15                  Page 14 of 14 PageID 14



             f.! Attorney’s fees, including litigation expenses, and costs;

             g.! Costs of court;

             h.! Pre-judgment and post-judgment interest as permitted by law; and

             i.! All such other and further relief as may be necessary to eradicate the

                 effects of Defendant’s unlawful discriminatory practices, and to which

                 Plaintiff may show himself entitled, whether at law or in equity, whether

                 general or special.


                                        Respectfully submitted,

                                        /s/ James A. McCorquodale
                                        __________________________________________
                                        James A. McCorquodale
                                        Texas State Bar No. 13464900
                                        A M LAWYERS
                                        4015 Main Street, Suite 200
                                        Dallas, Texas 75226
                                        Tel. (214) 712-4472
                                        Fax (815) 572-9448
                                        Email: sandy @ theamlawyers.com
                                        Counsel for Plaintiff Larry W. Panayi




________________________________________________________________________
Plaintiff’s Original Complaint                                                        Page 14
